      Case 4:05-cr-00059-JRH-CLR Document 340 Filed 01/12/06 Page 1 of 1




                UNITED STATES DISTRICT COURT
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                SOUTHERN DISTRICT OF GEORGIA

                           SAVANNAH DIVISIO N



UNITED STATES OF AMERICA, }

            Plaintiff,

v.     )      Case                       No . CR405-59

MARTIN J . BRADLEY, III, et al .,    )

            Defendants .             }

                                    ORDER

      After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

objections have been filed . Accordingly, the Report and Recommendation

of the Magistrate Judge is adopted as the opinion of the Court .

      SO ORDERED this /day of                                , 200    o




                                     UNITEI) STA'T'ES I iS R1CT ;JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA
